                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


 DAVID DUVALL,                                       )
                                                     )
                        Plaintiff,                   )
                                                     )
        v.                                           )
                                                     )      Civil Action No. 3:19-cv-624-DSC
 NOVANT HEALTH, INC.,                                )
                                                     )
                        Defendant.                   )
                                                     )


    REPLY IN SUPPORT OF DEFENDANT NOVANT HEALTH, INC.’S RENEWED
              MOTION FOR JUDGMENT AS A MATTER OF LAW

       COMES NOW Defendant Novant Health, Inc. (“Novant Health”) and submits this Reply

in support of its renewed request for judgment as a matter of law pursuant to Rule 50(b).

                                     I.     INTRODUCTION

       Plaintiff bases his Response to Rule 50(b) Motion (“Response”) on the false premise that

Novant Health is asking the Court to make witness credibility determinations in entering judgment

as a matter of law in its favor. This is not so, as Novant Health’s supporting memorandum

demonstrates. Rather, Novant Health asks the Court to review the admissible evidence presented

at trial – and not Plaintiff’s counsel’s unwarranted characterizations of that evidence. When the

competent trial evidence is considered squarely, it leads to one conclusion: no reasonable jury

could find that Plaintiff was the victim of race or sex discrimination. Therefore, Novant Health

respectfully requests the entry of judgment in its favor.




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                                        II.     ARGUMENT

        A.      Plaintiff’s Response Does Not Address the Inadmissible Pattern Evidence
                Upon Which He Bases His Claim

        In its opening memorandum, Novant Health thoroughly addressed the inadmissibility of

Plaintiff’s “pattern” evidence presented at trial. (Doc. 125, pp. 4-12). That evidence included both

the dissimilar pattern evidence the Court ruled was inadmissible before trial (and that Plaintiff

nonetheless introduced) and the pattern evidence concerning other termination decisions by Jesse

Cureton. (Id.). Plaintiff’s Response does not address the admissibility of this evidence and offers

nothing to refute Novant Health’s argument, which should be dispositive.

        Plaintiff’s pattern evidence is the basis for his belief that he was discriminated against, as

he testified at trial. (Doc. 116, 198:10-199:12; Doc. 117, 7:14-19, 56:18-57:1, 62:8-11, 73:4-74:4).

Indeed, Plaintiff’s Response continues to rely upon the pattern evidence in arguing the jury’s

verdict was supported. (Doc. 145, pp. 14, 21). Because this evidence is inadmissible – and at a

minimum cannot be considered by the Court in considering Novant Health’s request for judgment

as a matter of law (see Weisgram v. Marley Co., 528 U.S. 440, 454 (2000)) – Plaintiff’s

discrimination claim is without evidentiary support.

        This case is analogous to Tinsley v. City of Charlotte, 845 F. App’x 495 (4th Cir. 2021). In

Tinsley, the Fourth Circuit overturned a Title VII jury verdict and reversed the denial of the

defendant employer’s renewed motion for judgment as a matter of law. The basis for this decision

was the fact that the plaintiff’s discrimination theory relied upon comparator evidence, but the

comparator was invalid. Without the central and invalid comparator, the Court concluded that the

verdict lacked a legally sufficient basis, and held that “the district court erred in failing to grant the

[employer’s] motions for judgment as a matter of law.” Id. at 506. Similarly, Novant Health

requests judgment in its favor because Plaintiff’s discrimination case is premised upon



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inadmissible pattern evidence and, without this evidence, there is not a legally sufficient basis for

judgment in his favor.

       B.      Plaintiff’s Response Highlights the Central and Inadmissible Nature of the
               D&I Evidence

       Implicitly acknowledging that the pattern evidence cannot support the verdict, Plaintiff’s

Response claims that evidence as to Novant Health’s diversity and inclusion (“D&I”) efforts

allowed for judgment. (Doc. 145, pp. 3-9). However, the Response ignores both (1) Plaintiff’s

admission at trial that Novant Health’s D&I program was “properly implemented” during his

employment and (2) the objective evidence that there was virtually no change in the percentage of

white men at his level (SVP) from 2015 to 2019 – the very period of the alleged “diversity push.”

(Doc. 117, 84:16-21; Def. Trial Ex. 17). No reasonable jury could find intentional discrimination

based on Novant Health’s D&I efforts that Plaintiff admitted were lawful and that objectively did

not result in a displacement of white men.

       Plaintiff’s characterization of the D&I evidence in his Response does not overcome its

failure to support Plaintiff’s claim of intentional discrimination. Indeed, Plaintiff does not even

discuss the evidence; rather Plaintiff provides only a selective and misleading narration. Perhaps

the best example of a misleading insinuation is Plaintiff’s repeated contention that there were

financial incentives for Novant Health executives based on claimed diversity results. (Doc. 145,

pp. 18-19). But Plaintiff never mentions what these alleged D&I-based incentives relate to.

       The uncontested evidence at trial showed that there has never been any bonus awarded for

decreasing white men in the workforce or for hiring female or African American employees, which

is the entire premise of Plaintiff’s claim. (Doc. 115, 31:25-32:21). As set forth in Novant Health’s

Reply in Support of its Motion for Sanctions, both the annual incentive goal for 2018 (the year of

Plaintiff’s termination) and the long-term incentive goals over the period (2017-2019) were based,



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in part, on the results of survey questions related to inclusion – not diversity. (Pl. Trial Exs. 6, 84;

Doc. 115, 76:23-78:12). While this shell game may have confused the jury, the Court has a duty

to consider the actual evidence presented (as opposed to Plaintiff’s description of it) and determine

whether it supports a finding of intentional discrimination – and it does not.1

       Further, even if Plaintiff could show the D&I evidence, removed from his editorializing,

was probative of discrimination, there is no tie between this evidence and Plaintiff’s termination.

Plaintiff’s Response does not deny that such a link is required. Instead, Plaintiff purports to tie the

D&I evidence back to his own termination through the deposition testimony of Shane Grady. (Doc.

145, pp. 9-10). Grady is a recruiter who spoke to Cureton about Plaintiff at Plaintiff’s request.

Grady’s notes reflect that when asked “why change now,” Cureton stated that there has been “[l]ots

of change in last 12 months, re: executive leaders and others, desire to bring in new leaders, … It

was a desire for a different point of view, different ‘flare.’” (Pl. Trial Ex. 80, 20:9-20).

       Plaintiff claims that Cureton’s reference to leaders with a “different point of view” or

“flare” is a proxy for firing white men for diversity purposes. But no evidence supports the

suggestion that “point of view” or “flare” reasonably meant an expressed desire to fire white men

and hire women or minorities (and that Cureton would tell a third party recruiter that). This tenuous

and unsupported inference undergirds Plaintiff’s entire D&I case, and it does not permit judgment

in his favor. See Sakaria v. Trans World Airlines, 8 F.3d 164, 172–73 (4th Cir. 1993) (“In a long

line of decisions in this circuit, we have emphasized that proof of causation must be such as to




1
 Plaintiff also cites the 2017 Diversity, Inc. application, in which Novant Health answered “Y” to
“CEO signs-off on executive compensation tied to diversity (Y/N)” and answered “15” to the
question of “Percent of CEO direct reports whose bonuses tied to diversity results.” But Plaintiff
ignores entirely Tanya Blackmon’s testimony that these responses referred to the inclusion
questions referenced above, not to diversity. (Doc. 114, 114:23-115:5; Doc. 115, 68:7-69:23). This
is the only evidence at trial as to what these responses meant, and Plaintiff is bound by it.


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suggest ‘probability’ rather than mere ‘possibility,’ precisely to guard against raw speculation by

the fact-finder.”); Ford Motor Co. v. McDavid, 259 F.2d 261, 266 (4th Cir. 1958) (“Permissible

inferences must still be within the range of reasonable probability, however, and it is the duty of

the court to withdraw the case from the jury when the necessary inference is so tenuous that it rests

merely upon speculation and conjecture.”).

           C. The Remaining Record Cannot Support a Verdict

       Apart from the D&I evidence, Plaintiff’s remaining contention is that the reasons provided

by Novant Health for his termination were false. Plaintiff rests this argument on his testimony

about his perception of events predating his termination. To establish pretext, however, Plaintiff

must show not that Novant Health’s stated reasons for terminating Plaintiff were wrong, but that

they were not based on Cureton’s honest belief or perception. “‘In assessing pretext, a court’s

focus must be on the perception of the decisionmaker, that is, whether the employer believed its

stated reason to be credible.’” Holland v. Washington Homes, Inc., 487 F.3d 208, 217 (4th Cir.

2007) (quoting Azimi v. Jordan’s Meats, Inc., 456 F.3d 228, 246 (1st Cir. 2006)). Plaintiff’s self-

serving justifications thus cannot establish pretext.

       For example, Plaintiff does not dispute that he “froze” during a 2016 speech. Instead, he

simply offers explanations for what happened and why it does not matter in his mind (i.e., he was

ill and no one counseled him about it in writing).2 As another example, Plaintiff does not dispute

that he missed the patient experience meeting in question, which was the final straw in Cureton’s




2
  Plaintiff, therefore, concludes that it was unfair to fire him on this basis. But there was no trial
testimony that he was fired for this reason alone, as opposed to how he proceeded after this event,
the “how” as Cureton described it. Plaintiff admitted that this is exactly what Cureton told him
after the speech: “It’s how we move forward from here.” (Doc. 116, 165:2-5).


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mind. Rather, Plaintiff explains that he was at a family reunion and describes other efforts he took.3

Such evidence does not establish pretext. “Once an employer has provided a non-discriminatory

explanation for its decision, the plaintiff cannot seek to expose that rationale as pretextual … by

raising points that are wholly irrelevant to it.” Hux v. City of Newport News, 451 F.3d 311, 315

(4th Cir. 2006).

       The only item Plaintiff appears to challenge as false – rather than explaining away – is the

concern over his engagement with peers and above. Plaintiff bases this assertion on his own

perception of his engagement, which is irrelevant as a matter of law. Hawkins v. PepsiCo, Inc.,

203 F.3d 274, 280 (4th Cir. 2000). He also bases it on his final performance review, which said he

should “[c]ontinue to provide strategic leadership and stay engaged.” (Pl. Trial Ex. 55). Plaintiff

contends that this comment was not actually performance feedback regarding his engagement, but

rather an acknowledgement that he was engaged, and he notes that the words “continue to” were

not included in a discovery response. (Doc. 145, p. 13). This contention is easily dispelled. The

comment in question was provided to Plaintiff under a Section called “Opportunities for Growth

and Improvement.” Plaintiff’s contention that engagement was not actually a concern of Cureton

and instead something Novant Health manufactured in discovery is objectively false. Plaintiff has

not shown that Cureton did not honestly perceive that Plaintiff had the opportunity for

improvement in his engagement with peers and above, an essential showing for him to prevail on

this issue.4 Holland, 487 F.3d at 217.




3
 Plaintiff argues that Cureton and Everett recall the meeting slightly differently, but both agreed
on the material issue, which Plaintiff also did not dispute: Plaintiff did not attend the meeting.
4
  Plaintiff’s repeated reference to engagement scores provided to him by subordinates – which he
claims were higher than engagement scores Cureton received from his own subordinates – is
irrelevant as to Cureton’s perception of Plaintiff’s engagement with his peers and above.


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        Not only has Plaintiff failed to overcome the perception of the decision maker (who also

hired Plaintiff just five years earlier), but he made repeated admissions at trial that belie such a

contention. These include the admissions that Plaintiff had a good relationship with Cureton, that

there was no animus between them, that Plaintiff never felt discriminated against while employed

at Novant Health, that Plaintiff did not think Cureton was firing him out of any personal animus at

the time of termination, that Plaintiff testified at his deposition in June 2020 that he did not believe

any individual at Novant Health discriminated against him, and that Plaintiff did not believe

Cureton treated him prejudicially, at least as of the time of his termination. (Doc. 116, 198:10-15;

Doc. 117, 55:5-56:3, 61:7-24, 66:18-25). With Plaintiff’s repeated admissions as to a lack of

animus or prejudice by the decision maker, no reasonable jury could find intentional

discrimination. Novant Health therefore requests judgment as a matter of law.

        Dated this 9th day of March, 2022.




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                                CERTIFICATE OF SERVICE

       I, Benjamin R. Holland, hereby certify that I have this day electronically filed the foregoing

DEFENDANT NOVANT HEALTH, INC.’S REPLY IN SUPPORT OF ITS RENEWED

MOTION FOR JUDGMENT AS A MATTER OF LAW with the Clerk of Court using the

CM/ECF system, which will send notification of the filing to the following person:


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       Dated this the 9th day of March, 2022.



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